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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 STUDENT DOE, et al.,

                      Plaintiff,

       v.                                                CIVIL ACTION

 ABINGTON FRIENDS SCHOOL,                                NO. 22-14

                      Defendant.


                                       ORDER

      AND NOW, this 16th day of November, 2023, it is ORDERED that Plaintiffs’

Counsel shall certify compliance with the terms of the Court’s August 16, 2023 Order in

an Affidavit to the Court by Friday, November 17, 2023.



                                                     BY THE COURT:



                                                     /s/ Gerald J. Pappert
                                                     GERALD J. PAPPERT, J.
